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                                        UNITED STATES
                            SECURITIES AND EXCHANGE COMMISSION
                                  DENVER REGIONAL OFFICE
                             BYRON G. ROGERS FEDERAL BUILDING
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                               DENVER, COLORADO 80294-1961
 DIVISION OF                                                                          (303) 844-1041
ENFORCEMENT                                                                         millerte@sec.gov




                                       November 30, 2017



Honorable Denise Cote
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1610
New York, NY 10007


       Re:       SEC v. Alpine Securities Corporation
                 Case No.: 1:17-CV-04179-DLC

Dear Judge Cote:

        Pursuant to the Court’s Individual Practices 4.A and 3.D, Plaintiff the Securities and
Exchange Commission (“Commission”) submits this request to file redacted papers and sealed
exhibits in support of its Motion for Partial Summary Judgment (“Motion”). The Commission
has conferred with counsel for Defendant to collaborate on a method to submit summary
judgment papers in a way that balances the need for confidentiality and the public’s access to
these proceedings. Counsel for Defendant agrees to the proposal in this letter.

         The Commission plans to file the Motion on December 4, 2017. The Motion concerns
Defendant’s compliance with the Bank Secrecy Act’s requirements to file suspicious activity
reports (“SARs”). The Commission’s Memorandum of Law in Support of the Motion
(“Memorandum”) and Rule 56.1 Statement will therefore discuss many SARs and supporting
files that are deemed confidential under the Bank Secrecy Act and the Protective Order in this
case (Doc. No. 38). The Commission also intends to attach SARs and supporting files as
exhibits, which are the same type of materials submitted under seal with the Court’s permission
on November 1, 2017 (Doc. No. 53).

       The Commission seeks leave to file the Motion and confidential materials as follows:

             •   On December 4, the Commission will file its Notice of Motion on the ECF
                 system. This document will not contain confidential material. The Commission
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               will serve Defendant with a full, un-redacted set of its Motion papers and exhibits
               by email.

           •   On December 4, the Commission will submit materials directly to the Court’s
               chambers at CoteNYSDChambers@nysd.uscourts.gov to allow the Court to
               consider the request to redact and seal information in its filings: (i) digital copies
               of un-redacted versions of its Memorandum and Rule 56.1 Statement, (ii) digital
               copies of the Memorandum of Law and Rule 56.1 Statement in highlighted form
               to show the Court proposed redactions; and (iii) digital copies of proposed
               exhibits to be filed under seal. The Commission will copy counsel for Defendant
               with this submission. The Commission will hand-deliver copies of the same
               materials to the Court the following day and mail the same submission to counsel
               for Defendant.

           •   Once the Court renders a decision on the Commission’s proposed redactions and
               exhibits sought to be filed under seal, and Pursuant to the Court’s Individual
               Practices 4.A, the Commission will publicly file and serve (i) copies of the
               Memorandum and Rule 56.1 Statement with approved redactions, (ii) non-
               confidential exhibits, and (iii) placeholders to stand for exhibits permitted to be
               filed under seal. The Commission also will submit a final set of redacted and
               sealed documents to the Sealed Records Department (with a copy to counsel for
               Defendant).

         Good cause exists to file SARs and supporting files under seal and to redact any
information indicating the existence of a SAR, or which could contain identifying information
regarding the subject of a SAR, because of the strict confidentiality provisions applicable to
SARs under the Bank Secrecy Act and its implementing regulations, which generally precludes
both “financial institutions” and governmental entities from disclosing “to any person involved
in the transaction that the transaction has been reported.” 31 U.S.C. § 5318(g)(2)(i)-(ii); see also
31 C.F.R. § 1023.320(e) (“A SAR, and any information that would reveal the existence of a
SAR, are confidential . . . .”). Redactions in the Memorandum and Rule 56.1 Statement are
necessary to conceal the existence and content of specific SARs.

         Accordingly, the Commission requests that the Court approve the above method to
submit the Commission’s Motion and supporting materials. If approved by the Court, the
Commission agrees that Defendant should be permitted to utilize the same method for its filings
in this case.
                                           Sincerely,

                                              /s/ Terry R. Miller
                                              Zachary T. Carlyle (pro hac vice)
                                              Terry R. Miller (pro hac vice)



cc:    All counsel of record

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